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Fill in this information to identify the case:

United States Bankruptcy Court for the:
Southern                      District of New York
                                             (State)
                                                                                                                                 Check if this is an
Case number (if known): 18-                              Chapter 11                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                    04/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1. Debtor’s name                       Aralez Pharmaceuticals US Inc.



2. All other names debtor
    used in the last 8 years
    Include any assumed names,
    trade names and doing
    business as names




3. Debtor’s federal                    XX-XXXXXXX
    Employer Identification
    Number (EIN)


4. Debtor’s address                    Principal place of business                        Mailing address, if different from principal place of
                                                                                          business

                                       400           Alexander Park Drive
                                       Number        Street                               Number      Street


                                                                                          P.O. Box

                                       Princeton              New Jersey 08540
                                       City                   State         ZIP Code      City                        State     ZIP Code

                                                                                          Location of principal assets, if different from principal
                                       Mercer County                                      place of business
                                       County
                                                                                          See Attachment A
                                                                                          Number      Street




                                                                                          City                        State     ZIP Code


5. Debtor’s website (URL)              https://aralez.com/

6. Type of debtor                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:


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Debtor
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          Name                                                      Pg 2 of 21


7. Describe debtor’s                       A. Check one:
   business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                           B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                              See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              3254


8. Under which chapter of                  Check one:
   the Bankruptcy Code is
   the debtor filing?                         Chapter 7
                                              Chapter 9
                                              Chapter 11. Check all that apply:
                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders
                                                                   or affiliates) are less than $2,566,050 (amount subject to adjustment on 4/01/19 and
                                                                   every 3 years after that).
                                                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement of
                                                                   operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                   A plan is being filed with this petition.
                                                                   Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                   Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                              Chapter 12


9. Were prior bankruptcy                      No
   cases filed by or against                  Yes.      District                            When                     Case number
   the debtor within the last                                                                       MM / DD / YYYY
   8 years?                                             District                            When                     Case number
                                                                                                    MM / DD / YYYY
   If more than 2 cases, attach a
   separate list.

10. Are any bankruptcy                        No
     cases pending or being                   Yes.      Debtor See Attachment A                                      Relationship Affiliate
     filed by a business
                                                        District Southern District of New York                       When          Date Hereof
     partner or an affiliate of
                                                                                                                                   MM / DD / YYYY
     the debtor?
                                                        Case number, if known Pending
     List all cases. If more than 1,
     attach a separate list.




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          Aralez Pharmaceuticals US Inc.
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                                                                                       Case number (if known) 18-
          Name                                                     Pg 3 of 21


11. Why is the case filed in               Check all that apply:
     this district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.
                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                              district.


12. Does the debtor own or                    No
     have possession of any                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
     real property or                         needed.
     personal property that
     needs immediate                                 Why does the property need immediate attention? (Check all that apply.)
     attention?                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?
                                                        It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                        Other


                                                     Where is the property?
                                                                                Number         Street




                                                                                City                                      State         ZIP Code


                                                     Is the property insured?
                                                        No
                                                        Yes. Insurance agency

                                                                Contact name

                                                                Phone


         Statistical and administrative information



13. Debtor’s estimation of                 Check one:
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                              creditors.


                                              1-49                              1,000-5,000                                25,001-50,000
14. Estimated number of
     creditors*                               50-99                             5,001-10,000                               50,001-100,000
                                              100-199                           10,001-25,000                              More than 100,000
                                              200-999

                                              $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
15. Estimated assets*
                                              $50,001-$100,000                  $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                              $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                              $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion




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Debtor
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            Name                                                      Pg 4 of 21

                                                 $0-$50,000                          $1,000,001-$10 million                      $500,000,001-$1 billion
16. Estimated liabilities*
                                                 $50,001-$100,000                    $10,000,001-$50 million                     $1,000,000,001-$10 billion
                                                 $100,001-$500,000                   $50,000,001-$100 million                    $10,000,000,001-$50 billion
                                                 $500,001-$1 million                 $100,000,001-$500 million                   More than $50 billion

* Information provided on a consolidated basis, and based on financial statements as of June 30, 2018.

          Request for Relief, Declaration, and Signatures

WARNING --        Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                  $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17.      Declaration and                        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
         signature of                            this petition.
         authorized
         representative of                      I have been authorized to file this petition on behalf of the debtor.
         debtor
                                                I have examined the information in this petition and have a reasonable belief that the information is
                                                 true and correct.

                                             I declare under penalty of perjury that the foregoing is true and correct.

                                                 Executed on      08 / 10 / 2018
                                                                  MM / DD / YYYY



                                              /s/ Michael Kaseta                                                Michael Kaseta
                                                 Signature of authorized representative of debtor                Printed name

                                                 Title Authorized Signatory


18. Signature of attorney                     /s/ Paul V. Shalhoub                                              Date 08 / 10 / 2018
                                                 Signature of attorney for debtor                                      MM / DD / YYYY

                                                 Paul V. Shalhoub
                                                 Printed name

                                                 Willkie Farr & Gallagher LLP
                                                 Firm name

                                                 787            Seventh Avenue
                                                 Number         Street

                                                 New York                                                                NY              10019
                                                 City                                                                    State           ZIP Code

                                                 (212) 728-8000                                        pshalhoub@willkie.com
                                                 Contact phone                                         Email address

                                                 2492858                                               New York
                                                 Bar number                                            State




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                        ATTACHMENT A TO VOLUNTARY PETITION

     1. Pending Bankruptcy Cases Filed by Affiliates of the Debtor

Concurrently herewith, each of the affiliated entities listed below, including the Debtor filing this
petition (collectively, the “Debtors”), filed a petition in this Court for relief under chapter 11 of
title 11 of the United States Code.1


                   Aralez Pharmaceuticals US Inc.
                   Aralez Pharmaceuticals Holdings Limited
                   Aralez Pharmaceuticals Management Inc.
                   Aralez Pharmaceuticals R&D Inc.
                   Aralez Pharmaceuticals Trading Designated Activity Company
                   Halton Laboratories LLC
                   POZEN Inc.


Contemporaneously with the filing of their voluntary petitions, the Debtors filed a motion
requesting that this Court consolidate their chapter 11 cases for procedural purposes only.




1
        On the date hereof, the Debtors’ ultimate parent company, Aralez Pharmaceuticals Inc., and the Debtors’
        affiliate, Aralez Pharmaceuticals Canada Inc., commenced plenary restructuring proceedings in the Ontario
        Superior Court of Justice (Commercial List) under the Companies’ Creditors Arrangement Act.
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 2. Location of the Debtors’ Principal Assets (on a Consolidated Basis)

       a. Certain material contracts, which generate a significant portion of the Debtors’
          revenues, are governed by New York law.

       b. The Debtors’ stock certificates are held by Deerfield Partners, L.P. and Deerfield
          Private Design Fund III, L.P. in a safe located in their offices at the following
          address:

           780 Third Avenue
           37th Floor
           New York, NY 10017

       c. The Debtors have funded retainers for certain professionals held in bank accounts
          located in New York City.

       d. The Debtors lease office space at the following locations:

           3 Columbus Circle
           Suite 1710
           New York, NY 10019

           400 Alexander Park Drive
           Princeton, NJ 08540

           555 East Lancaster Avenue
           Suite 540
           Radnor, PA 19087

           2 Hume Street
           Fourth Floor
           Dublin 2
           D02 FT82
           Ireland




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                               OMNIBUS WRITTEN CONSENT
                                                OF
                                THE BOARD OF DIRECTORS
                                                OF
                    THE ENTITIES LISTED IN SCHEDULE I HERETO

                                          August 9, 2018

       The undersigned, constituting all of the members of the Board of Directors (the “Board”)
of each entity listed in Schedule I hereto (each entity, a “Company” and together, the
“Companies”), hereby consent, pursuant to the Delaware General Corporation Law (the
“DGCL”), to the adoption of the resolutions set forth below, effective as of the date set forth
above unless otherwise indicated below, and that such resolutions be taken without a meeting
pursuant to Section 141(f) of the DGCL:

                WHEREAS, as a result of the financial condition of the Company, the Board has
engaged counsel and financial advisors to provide advice to the Company regarding its
obligations to its creditors, equity holders, employees and other interested parties;

                WHEREAS, the Board has reviewed and considered, among other things, the
advice of its counsel and financial advisors and has considered the options available to the
Company, and has determined that, in its judgment, it is advisable and in the best interests of the
Company, its creditors, equity holders, employees and other interested parties that the Company
voluntarily files a petition (a “Petition”) for relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”);

                 WHEREAS, after consultation with its counsel and financial advisors, the Board
believes that it is advisable and in the best interests of the Company to enter into and obtain loans
pursuant to the DIP Credit Agreement (as defined herein) and to consummate the transactions
contemplated thereby.

               NOW THEREFORE, it is hereby:

                RESOLVED, that the filing by the Company of its Petition, in the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), substantially
in the form previously presented to the Board is hereby approved, confirmed and adopted in all
respects; and it is further

             RESOLVED, that Michael Kaseta is hereby appointed the designated agent of
the Company (the “Authorized Signatory”) with full power and authority to act on behalf of the
Company with respect to the matters covered by these resolutions; and it is further

              RESOLVED, that the Authorized Signatory and the officers of the Company,
including any president, vice president, chairman, managing director, executive vice president,
chief executive officer, chief financial officer, treasurer, secretary or assistant secretary
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(collectively, with the Authorized Signatory, the “Authorized Persons”) be and they hereby are
authorized, empowered and directed to execute and file a Petition on behalf of the Company in
order to seek relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and it is
further

                RESOLVED, that each of the Authorized Persons be and they hereby are
authorized, empowered and directed, in the name and on behalf of the Company, to execute and
file all schedules, motions, lists, applications, pleadings, declarations, affidavits and other papers
as required to accompany the Petition or seek entry of first day orders, and, in connection
therewith, to employ and retain assistance of legal counsel, accountants, financial advisors and
other professionals, and to take and perform any and all further acts and deeds that they deem
necessary, proper or desirable in connection with, or in furtherance of, the Petition or the
Company chapter 11 case, with a view to the successful prosecution of such case; and it is
further

              RESOLVED, that the Company is authorized to employ the law firm of Willkie
Farr & Gallagher LLP, located at 787 Seventh Avenue, New York, New York 10019, as
bankruptcy counsel to render legal services to, and to represent, the Company in its chapter 11
case and in any and all related proceedings, subject to Bankruptcy Court approval; and it is
further

               RESOLVED, that the Company is authorized to employ Alvarez & Marsal
Healthcare Industry Group, LLC, located at 600 Madison Avenue, 8th Floor, New York, New
York 10022, as restructuring and financial advisors for the Company in its chapter 11 case,
subject to Bankruptcy Court approval; and it is further

               RESOLVED, that the Company is authorized to employ Moelis & Company,
located at 399 Park Avenue, 5th Floor, New York, New York 10022, as investment banker for
the Company in its chapter 11 case, subject to Bankruptcy Court approval; and it is further

                RESOLVED, that the Company is authorized to employ RSM US LLP, located
at 379 Thornall Street, 2nd Floor, Edison, New Jersey 08837, as tax advisor for the Company in
its chapter 11 case, subject to Bankruptcy Court approval; and it is further

                 RESOLVED, that the Company is authorized to employ Prime Clerk LLC,
located at 830 Third Avenue, 9th Floor, New York, New York 10022, as claims, noticing, and
solicitation agent for the Company in its chapter 11 case, subject to Bankruptcy Court approval;
and it is further

                RESOLVED, that each of the Authorized Persons be and they hereby are
authorized, empowered and directed to retain on behalf of the Company such other professionals
as they deem necessary, appropriate or desirable, upon such terms and conditions as they shall
approve, to render services to the Company in connection with its chapter 11 case and with
respect to other related matters in connection therewith, subject to Bankruptcy Court approval, if
required; and it is further



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                 RESOLVED, that the form, terms and provisions of (i) that certain Senior
Secured Super-Priority Debtor-in-Possession Credit Agreement (the “DIP Credit Agreement”),
by and among the Companies, Halton Laboratories LLC, Aralez Pharmaceuticals Trading
Designated Activity Company and Aralez Pharmaceuticals Holdings Limited, the lenders from
time to time party thereto and Deerfield Management Company, L.P., as administrative agent
and as collateral agent (the “DIP Agent”), substantially in the form presented to the Board, with
such changes therein and additions thereto as the Authorized Person(s) executing the same shall
approve, the execution thereof by an Authorized Person to be deemed conclusive evidence of
such approval, whereby the lenders party thereto agree to extend loans to the Companies and
their debtor U.S. and Irish incorporated affiliates, and (ii) the other Loan Documents (as
hereinafter defined), including, without limitation, any exhibits, appendices and schedules
thereto, all transactions contemplated thereby and all actions taken by the Authorized Person(s)
in connection therewith be, and hereby are, authorized, approved and ratified in all respects with
such modifications, changes, additions and deletions thereto as may be approved or deemed
necessary, desirable, convenient, advisable or appropriate by an Authorized Person executing the
same, the execution thereof by such Authorized Person to be conclusive evidence of such
approval, necessity, desirability, convenience, advisability or appropriateness; and be it further

                RESOLVED, that the execution and delivery of the DIP Credit Agreement and
the other Loan Documents, and the performance by the Company of its obligations thereunder,
including the granting, ratification or reaffirmation of any security interest, mortgage or lien, or
the provision of any guarantee, as applicable, in each case, as contemplated by or in connection
with the DIP Credit Agreement and the other Loan Documents, hereby are expressly authorized,
adopted, confirmed, ratified and approved, and such approval is intended to and shall constitute
all authorization and approval required by the Board; and it is further

                RESOLVED, that each of the Authorized Persons be and they hereby are
authorized to execute, deliver and perform, or cause to be executed, delivered and performed, as
applicable from time to time, in the name of and on behalf of the Company, the DIP Credit
Agreement and various other documents, agreements, instruments, questionnaires, papers or
writings, as such Authorized Person determines are necessary, convenient, advisable, appropriate
or desirable to effect execution, delivery and performance of the DIP Credit Agreement and the
transactions contemplated thereunder as intended by these resolutions, including but not limited
to, any UCC financing statements and other instruments, stock powers, bond powers, unit
powers, powers of attorney, side letters, notary letters, allonges, waivers, documents, certificates,
consents, assignments, notices, affidavits, certificates of officers (including secretary’s
certificates) and other certificates, control agreements, intellectual property grants, guarantees,
pledge agreements and other pledge documents, security agreements and other security
documents, ratification agreements and agreements contemplated thereby or executed and
delivered in connection therewith (collectively, the “Loan Documents”), in each case, with such
changes, additions, modifications, and terms as the Authorized Person(s) executing the Loan
Documents shall approve, with such Authorized Person’s execution thereof to be deemed
conclusive evidence of such approval, and in each case and in connection therewith, with all
amendments, amendments and restatements, supplements, renewals, extensions, modifications,
substitutions and replacements thereof and each other agreement now existing or hereafter



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created providing collateral security for payment or performance of the obligations thereunder;
and it is further

                 RESOLVED, that each of the Authorized Persons are hereby authorized, directed
and empowered, for and on behalf of and in the name of the Company to assign, hypothecate, set
over, grant security interests in or grant a continuing security interest in, mortgage or pledge any
or all of the assets and properties of the Company, real, personal or mixed, tangible or intangible,
now owned or hereafter acquired, and all proceeds of the foregoing, to the DIP Agent as security
for the obligations under the DIP Credit Agreement and the other Loan Documents; and it is
further

                 RESOLVED, that to the extent that the approval of the Company in its capacity
as a stockholder, shareholder, equity holder, managing member, sole member, general partner,
limited partner or member of any person is required for the Company or any such other person to
execute, deliver and perform any of its obligations (including the grant of a lien on its assets)
under the DIP Credit Agreement or the other Loan Documents, the Company hereby consents
thereto; and it is further

                RESOLVED, that the key employee retention plans (the “KERP”), in
substantially the forms presented to the Board, and the Company’s performance of its obligations
thereunder are hereby authorized, approved and ratified in all respects, subject to Bankruptcy
Court approval, and each of the Authorized Persons be, and hereby is, authorized and directed to
execute and deliver the KERP with such changes, additions and deletions thereto, as such
Authorized Person deems necessary or advisable, with such Authorized Person’s execution
thereof to be deemed conclusive evidence of such approval, in each case, subject to Bankruptcy
Court approval; and be it further

               RESOLVED, that each of the Authorized Persons is authorized to make, execute,
file and deliver any and all consents, certificates, documents, instruments, amendments, papers
or writings as may be required in connection with or in furtherance of any of the foregoing, and
to do any and all other acts necessary or desirable to effectuate the foregoing resolutions, the
execution and delivery thereof by such Authorized Person(s) to be deemed conclusive evidence
of the approval by the Company of the terms, provisions and conditions thereof; and it is further

                 RESOLVED, that any and all past actions heretofore lawfully taken by any
officers, directors, members or any authorized persons acting under similar authority, as the case
may be, of the Company in the name and on behalf of the Company in furtherance of any or all
of the preceding resolutions are hereby ratified, confirmed, adopted and approved in all respects;
and it is further




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                                    OMNIBUS RESOLUTION

                RESOLVED FURTHER, that the Authorized Persons be, and each of them
hereby is, authorized and directed, in the name and on behalf of the Company, to do and perform all
such further acts and things, to execute and/or deliver, and, where necessary or appropriate, file with
the appropriate governmental authorities, all such certificates, agreements, documents, instruments,
instruments of transfer, receipts and other papers, and to make all such payments and to pay all such
taxes and assessments, as any one or more of them, in their sole discretion, shall approve or deem to
be necessary or appropriate in order to carry out, comply with and effectuate the restructuring of the
Company, the foregoing resolutions and the transactions contemplated thereby, the taking of such
actions to be conclusive evidence of the necessity or appropriateness thereof.




                                     [Signature page to follow]




                                                  5
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       IN WITNESS WHEREOF, the undersigned directors of each Company have duly
executed this Omnibus Written Consent as of the date first written above.



                                          ARALEZ PHARMACEUTICALS
                                          MANAGEMENT INC.


                                          /s/ Adrian Adams
                                          Adrian Adams




                                          ARALEZ PHARMACEUTICALS R&D INC.
                                          ARALEZ PHARMACEUTICALS US INC.
                                          POZEN INC.


                                          /s/ Andrew I. Koven
                                          Andrew I. Koven




                     [Signature Page to Omnibus Board Resolutions]
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                                         Schedule I

Aralez Pharmaceuticals Management Inc.
Aralez Pharmaceuticals R&D Inc.
Aralez Pharmaceuticals US Inc.
POZEN Inc.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :   Chapter 11
                                                       :
Aralez Pharmaceuticals US Inc.,                        :   Case No. 18-__________ (         )
                                                       :
                           Debtor.                     :   (Joint Administration Pending)
-------------------------------------------------------x

                          CONSOLIDATED LIST OF CREDITORS
                      HOLDING THE 30 LARGEST UNSECURED CLAIMS

        Set forth below is the list of creditors that hold, based upon information presently
available and belief, the thirty largest unsecured claims against Aralez Pharmaceuticals US Inc.
and its affiliated debtors and debtors in possession (collectively, the “Debtors”). This list has
been prepared based upon the books and records of the Debtors. The Top 30 List was prepared
in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure for filing in the
Debtors’ chapter 11 cases. The Top 30 List does not include: (1) persons who come within the
definition of an “insider” as set forth in 11 U.S.C. § 101(31); or (2) secured creditors, including
those creditors with a right to setoff under applicable law, unless the value of the collateral (or
amount entitled to be offset) is such that the unsecured deficiency places the creditor among the
holders of the thirty (30) largest unsecured claims. The information presented in the Top 30 List
shall not constitute an admission by, nor is it binding on, the Debtors. The information presented
herein, including, without limitation: (a) the failure of the Debtors to list any claim as contingent,
unliquidated, disputed or subject to a setoff; or (b) the listing of any claim as unsecured, does not
constitute an admission by the Debtors that the secured lenders listed hold any deficiency claims,
nor does it constitute a waiver of the Debtors’ rights to contest the validity, priority, nature,
characterization, and/or amount of any claim.


                                         [List appears on next page]
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    Fill in this information to identify the case:

    Debtor name: Aralez Pharmaceuticals US Inc., et al.

    United States Bankruptcy Court for the: Southern               District of New York
                                                                               (State)                                    Check if this is an
    Case number (if known): 18-                                                                                         amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30
    Largest Unsecured Claims and Are Not Insiders                                                                                         12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
    which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31).
    Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value
    places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and              Name, telephone number, and email     Nature of      Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact           the claim      claim is
including zip code                                                      (for           contingent,     If the claim is fully unsecured, fill in only
                                                                        example,       unliquidated,   unsecured claim amount. If claim is partially
                                                                        trade debts,   or disputed     secured, fill in total claim amount and
                                                                        bank loans,                    deduction for value of collateral or setoff to
                                                                        professional                   calculate unsecured claim.
                                                                        services,
                                                                        and
                                                                        government                     Total        Deduction       Unsecured claim
                                                                        contracts)                     claim, if    for value of
                                                                                                       partially    collateral
                                                                                                       secured      or setoff

                                  William Mongan
                                  VP, Product Development

      AstraZeneca AB              EMAIL:
      Forskargatan 18             william.mongan@astrazeneca.com
                                                                        Trade
1     SE-151 85 Sodertalje                                                                                                          $14,000,000.00
                                                                        Payable
      Sweden, 151 85              Mariam Koohdary
      Sweden                      Deputy General Counsel

                                  EMAIL:
                                  mariam.koohdary@astrazeneca.com


      GHG Summit LLC              Jessica Schaffer
      PO Box 783346
                                                                        Trade
2     Philadelphia, PA            PHONE: 973-352-1022                                                                               $486,529.55
                                                                        Payable
      19178-3346                  EMAIL:
      United States               jessica.schaffer@ogilvy.com


                                  Kristina Meissner
      Healix Inc.
      PO Box 74008223                                                   Trade
3                                 PHONE: 402 965-4860                                                                               $111,662.03
      Chicago, IL 60674-8223                                            Payable
                                  EMAIL:
      United States
                                  Kristina.Meissner@interpublic.com




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Name of creditor and               Name, telephone number, and email       Nature of      Indicate if     Amount of unsecured claim
complete mailing address,          address of creditor contact             the claim      claim is
including zip code                                                         (for           contingent,     If the claim is fully unsecured, fill in only
                                                                           example,       unliquidated,   unsecured claim amount. If claim is partially
                                                                           trade debts,   or disputed     secured, fill in total claim amount and
                                                                           bank loans,                    deduction for value of collateral or setoff to
                                                                           professional                   calculate unsecured claim.
                                                                           services,
                                                                           and
                                                                           government                     Total        Deduction       Unsecured claim
                                                                           contracts)                     claim, if    for value of
                                                                                                          partially    collateral
                                                                                                          secured      or setoff


                                  Maureen Butler
       MSD Ireland Brinny
                                                                           Trade
4      Brinny, Innishannon                                                                                                             $338,893.95
                                  EMAIL:                                   Payable
       Cork, Ireland
                                  maureen.butler@merck.com




5      Employee 1 Severance                                                Severance                                                   $310,879.90




       Patheon                    Michael Thompson
       Pharmaceuticals Inc.
                                                                           Trade
6      2110 E. Galbraith Rd.      PHONE: 919-226-3119                                                                                  $303,720.00
                                                                           Payable
       Cincinnati, OH 45237       EMAIL:
       United States              Michael.Thompson@Patheon.com


       EMKAY
                                  Jessica Jewell
       805 W Thorndale
                                                                           Trade
7      Avenue                                                                                                                          $231,225.70
                                  PHONE: 630-775-6472                      Payable
       Itasca, IL 60143
                                  EMAIL: JJewell@emkay.com
       United States


       Ernst & Young US LLP
       Wells Fargo Bank, NC
                                  Anthony Szymelewicz
       c/o Ernst & Young US
       LLP                                                                 Trade          Contingent,
8                                 PHONE: 215-448-5850                                                                                  $160,000.00
       P.O. Box 933514                                                     Payable        Unliquidated
                                  EMAIL:
       Atlanta, GA
                                  Anthony.Szymelewicz@ey.com
       31193-3514
       United States


                                  Mary Booth
       Almac Pharma Services
       2661 Audubon Road                                                   Trade          Contingent,
9                                 PHONE: 610-666-9500                                                                                  $151,851.00
       Audubon, PA 19403                                                   Payable        Unliquidated
                                  EMAIL:
       United States
                                  mary.booth@almacgroup.com


       Source Healthcare          Kristen Duva
       Analytics, LLC
                                                                           Trade
10     P.O. Box 277158            PHONE: 215-444-8727                                                                                  $129,855.92
                                                                           Payable
       Atlanta, GA 30384-7158     EMAIL:
       United States              accounts.receivable@symphonyhealth.com




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Name of creditor and              Name, telephone number, and email     Nature of      Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact           the claim      claim is
including zip code                                                      (for           contingent,     If the claim is fully unsecured, fill in only
                                                                        example,       unliquidated,   unsecured claim amount. If claim is partially
                                                                        trade debts,   or disputed     secured, fill in total claim amount and
                                                                        bank loans,                    deduction for value of collateral or setoff to
                                                                        professional                   calculate unsecured claim.
                                                                        services,
                                                                        and
                                                                        government                     Total        Deduction       Unsecured claim
                                                                        contracts)                     claim, if    for value of
                                                                                                       partially    collateral
                                                                                                       secured      or setoff

       Eagle Pharmacy LLC        Kamaria Jordan
       350 Eagles Landing
                                                                        Trade          Contingent,
11     Drive Dock 91             PHONE: 863-825-4154                                                                                $125,000.00
                                                                        Payable        Unliquidated
       Lakeland, FL 33810        EMAIL:
       United States             kjordan@eaglepharmacy.com


                                 Amy Bathurst
       Frontida BioPharm Inc.
       7722 Dungan Road                                                 Trade          Contingent,
12                               PHONE: 215-697–1725                                                                                $116,071.84
       Philadelphia, PA 19111                                           Payable        Unliquidated
                                 EMAIL:
       United States
                                 Amy.Bathurst@frontidabiopharm.com




13     Employee 3 Severance                                             Severance                                                   $112,784.46




14     Employee 4 Severance                                             Severance                                                   $104,554.82




                                 Reno Amadori
       QPharma, Inc.
       22 South Street                                                  Trade
15                               PHONE: 973-656-0011                                                                                $103,128.72
       Morristown, NJ 07960                                             Payable
                                 EMAIL:
       United States
                                 reno.amadori@qpharmacorp.com




16     Employee 5 Severance                                             Severance                                                   $103,076.48




17     Employee 6 Severance                                             Severance                                                   $102,022.33




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Name of creditor and              Name, telephone number, and email     Nature of      Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact           the claim      claim is
including zip code                                                      (for           contingent,     If the claim is fully unsecured, fill in only
                                                                        example,       unliquidated,   unsecured claim amount. If claim is partially
                                                                        trade debts,   or disputed     secured, fill in total claim amount and
                                                                        bank loans,                    deduction for value of collateral or setoff to
                                                                        professional                   calculate unsecured claim.
                                                                        services,
                                                                        and
                                                                        government                     Total        Deduction       Unsecured claim
                                                                        contracts)                     claim, if    for value of
                                                                                                       partially    collateral
                                                                                                       secured      or setoff




18     Employee 7 Severance                                             Severance                                                   $99,266.78




19     Employee 8 Severance                                             Severance                                                   $90,213.18




20     Employee 9 Severance                                             Severance                                                   $88,556.97




       Employee 10
21                                                                      Severance                                                   $88,556.97
       Severance




       Employee 11
22                                                                      Severance                                                   $79,873.58
       Severance




       Employee 12
23                                                                      Severance                                                   $78,887.47
       Severance




       Employee 13
24                                                                      Severance                                                   $77,563.69
       Severance




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Name of creditor and              Name, telephone number, and email     Nature of      Indicate if     Amount of unsecured claim
complete mailing address,         address of creditor contact           the claim      claim is
including zip code                                                      (for           contingent,     If the claim is fully unsecured, fill in only
                                                                        example,       unliquidated,   unsecured claim amount. If claim is partially
                                                                        trade debts,   or disputed     secured, fill in total claim amount and
                                                                        bank loans,                    deduction for value of collateral or setoff to
                                                                        professional                   calculate unsecured claim.
                                                                        services,
                                                                        and
                                                                        government                     Total        Deduction       Unsecured claim
                                                                        contracts)                     claim, if    for value of
                                                                                                       partially    collateral
                                                                                                       secured      or setoff



       Employee 14
25                                                                      Severance                                                   $68,130.32
       Severance




       Employee 15
26                                                                      Severance                                                   $67,082.08
       Severance




       Employee 16
27                                                                      Severance                                                   $65,143.67
       Severance




       Employee 17
28                                                                      Severance                                                   $64,985.80
       Severance



       Phoenix Marketing
       Solutions
                                 Amy Savage
       121 Chanlon Road
                                                                        Trade
29     Suite 300                                                                                                                    $64,359.18
                                 PHONE: 908-222-4870                    Payable
       New Providence, NJ
                                 EMAIL: asavage@phoenixgrp.net
       07974
       United States



       Employee 18
30                                                                      Severance                                                   $62,889.42
       Severance




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                 :   Chapter 11
                                                       :
Aralez Pharmaceuticals US Inc.,                        :   Case No. 18-__________ (         )
                                                       :
                           Debtor.                     :   (Joint Administration Pending)
-------------------------------------------------------x

               LIST OF EQUITY HOLDERS AND CORPORATE OWNERSHIP
                 STATEMENT OF ARALEZ PHARMACEUTICALS US INC.
                PURSUANT TO BANKRUPTCY RULES 1007(a)(3) AND 7007.1

       Aralez Pharmaceuticals US Inc. is a wholly-owned subsidiary of POZEN Inc., which is a
wholly-owned subsidiary of Aralez Pharmaceuticals Holdings Limited, which is a wholly-owned
subsidiary of Aralez Pharmaceuticals Inc.

      As of the Petition Date, no entity owns ten percent (10%) or more of Aralez
Pharmaceuticals Inc.’s equity interests.
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 Fill in this information to identify the case and this filing:

 Debtor Name Aralez Pharmaceuticals US Inc.
 United States Bankruptcy Court for the: Southern          District of New York
                                                                         (State)
 Case number (If known): 18-



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



              Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.
            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:

                          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)


                          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)


                          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)


                          Schedule H: Codebtors (Official Form 206H)


                          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)


                          Amended Schedule ______


                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
                          Insiders (Official Form 204)

                          Other document that requires a declaration: List of Equity Holders and Corporate Ownership Statement Pursuant
                          to Bankruptcy Rules 1007(a)(3) and 7007.1



            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 08 / 10 / 2018                                             /s/ Michael Kaseta
                            MM / DD / YYYY                                         Signature of individual signing on behalf of debtor

                                                                                   Michael Kaseta
                                                                                   Printed name

                                                                                   Authorized Signatory
                                                                                   Position or relationship to debtor


      Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
